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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative    CASE NO.: 9:18-cv-80176-BB
   of the Estate of David Kleiman, and W&K Info
   Defense
   Research, LLC,

                       Plaintiffs,

   v.

   CRAIG WRIGHT,

                       Defendant.


        PLAINTIFFS’ REPLY IN SUPPORT OF THEIR OMNIBUS MOTION IN LIMINE
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 I.       EVIDENCE RELATING TO DAVID’S CHARACTER, IRA’S RELATIONSHIP
          WITH DAVID, AND CRAIG’S CHILDHOOD SHOULD BE EXCLUDED
          After successfully derailing the discovery period of this case with his “antics” (ECF No.
  [373], at 21), Wright now seeks to derail the trial of this case away from the merits and onto an
  emotional appeal where he seeks to ask the jury not to award a “bad,” “undeserving,” and
  “estranged” brother the assets that his “drug using,” “strip club going,” “woman abusing,” and
  “suicidal” adopted brother created.
          This case is about whether David Kleiman and Wright formed a partnership to mine bitcoin
  and develop blockchain related intellectual property. Wright has made clear that he intends to
  defend this case by debasing David, who he once described as his “best friend” and tearfully
  eulogized in public,1 as an impoverished, women-beating drug addict, who visited strip clubs,
  hated his brother, and committed suicide. Putting aside that most of these claims lack evidentiary
  support, this should not be allowed.
          A.       MIL #1: David and Ira’s relationship
          Wright claims he needs to introduce evidence of Ira’s relationship with David to attack
  Ira’s credibility. But the extent of Ira’s personal knowledge of facts germane to this lawsuit while
  David was alive is largely limited to Ira and David’s November 26, 2009 (Thanksgiving Day)
  dinner conversation where David said he was making “digital money” with a “rich foreign man.”
  See ECF No. [83-2], at 2.
          Wright’s contends he needs to tell the jury Ira was a “bad brother” to cast doubt on the
  Thanksgiving story since it’s implausible David would tell his “estranged” brother he was creating
  secret digital money. First, if Wright’s theory of relevance is the state of Ira and David’s
  relationship in 2009, no post-2009 relationship evidence should come in (e.g., hospital visitation).
  But more importantly, evidence demonstrating Ira was not close to David in 2009 has very little
  probative value, certainly outweighed by its prejudicial effect, given the undisputed evidence that
  Ira emailed this story to Wright in 2014 (before any known adversity) and Wright responded by
  confirming it. Id. Given this prior admission, it’s obvious Wright’s desire to introduce the “bad
  brother” evidence is not motivated by showing the conversation didn’t take place, but as an effort



  1
   Crypto Me!, Craig Wright tribute video to friend Dave Kleiman (some say this pair is “Satoshi”). RIP (1967-2013),
  YouTube (May 10, 2018), https://youtu.be/uVtOkE5vHbY.



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  to smear Ira, and paint him as an undeserving plaintiff.2 The Court should exclude all such
  evidence, but at a minimum, should exclude all post-2009 evidence of their relationship.
           Equally unavailing is Wright’s speculative contention that Ira’s relationship with David
  could have motivated Ira to destroy David’s files after his death. See ECF No. [523], at 11. Wright
  speculates that data on David’s devices could have shown “that Dave did not intend for Ira, as
  Dave’s estate’s representative, to have any claim against defendant, or that Dave in fact did not
  have any claim against defendant.” Id. Ira’s relationship with David is completely irrelevant to
  Wright’s baseless allegation that Ira destroyed evidence.
           Wright’s conduct demonstrates his desire to inject evidence of Ira and David’s relationship
  into this trial is nothing more than a smear campaign. If Wright actually believed Ira destroyed
  evidence, he would have brought a spoliation claim and allowed the Court to determine if a remedy
  is necessary. See Fed. R. Civ. P. 37(e). Wright did not, because there’s no evidence of spoliation.
  Instead, Wright intends to litigate his speculative and nonsensical theory before the jury. The Court
  should not allow this improper end-run around Rule 37(e).3
           The Court should see these attempts for what they are. Wright wishes to portray Ira as
  “undeserving,” in the hope that the jury will turn its focus away from the merits of the case. This
  case is about David and Wright’s business relationship—not a sibling relationship. The state of Ira
  and David’s relationship does not change, or even relate to, David and Wright’s joint bitcoin
  mining and intellectually property development. To the extent testimony about the relationship has
  any probative value to vet a quick conversation that took place in 2009 that Wright has already
  confirmed the accuracy of—it is substantially outweighed by the prejudice Wright seeks to exploit.
           B.       MIL #6: Alleged drug abuse, social life and domestic violence
           Wright’s opposition confirms that he seeks to introduce improper evidence of David’s
  alleged drug abuse, social life and domestic violence. This conduct is irrelevant to the claims and
  defenses in this action. See Fed. R. Evid. 404(a)-(b).
           Wright repeatedly claims, without explanation, that David’s alleged drug and domestic
  abuse bear on the core issues. But his sole claim that this evidence is relevant is that it counters the

  2
   Wright’s theory that Dave and Ira had an “acrimonious relationship” is belied by the fact that Dave’s Will named Ira
  as the sole beneficiary and Personal Representative of his Estate.
  3
    Further, there is no evidence that Ira deleted any of David’s electronic files containing relevant evidence. Ira
  explained at his deposition that he only (1) “discard[ed] some papers” that “didn’t look relevant to keeping” like “junk
  mail,” and (2) reformatted two devices that did not have anything on them. ECF No. [488-14], at 44:20–45:3, 48:10–
  14, 49:13–17, 53:3–4.


                                                             2
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  portrayal of David as someone who refused to cash in on the massive fortune he amassed. ECF
  No. [523], at 15. But Wright never explains how alleged drug use or visiting adult clubs has any
  bearing on David’s ability to honor an agreement not to touch assets. See Murphy v. Precise, No.
  16-cv-0143, 2017 WL 6002581, at *12 (M.D. Ala. Dec. 1, 2017) (inflammatory character evidence
  “subtly permits the trier of fact to reward the good man and to punish the bad man because of their
  respective characters despite what the evidence in the case shows actually happened”).
          Moreover, there is currently no evidence in the record whatsoever that David was “abusing
  drugs” or that he abused women. Instead, the record evidence on drug “abuse” is limited to a single
  reference in an Autopsy Report (ECF No. [497-19]) that David may have had trace amounts of
  cocaine in his body at his time of death.4 But even if David had drugs in his system when he died,
  there is no evidence that it impacted, in any way, the question of whether he and Wright had a joint
  business relationship, or David’s ability to honor an agreement not to touch assets. There also is
  no record evidence that David abused women. Wright’s portrayal of David as a drug and women
  “abuser” is just another one of Wright’s ploys to obfuscate and distract the jury.
          C.       MIL #5: Alleged suicide
          The Palm Beach County Medical Examiner, the official charged with cause of death
  investigations (Fla. Stat. § 406.11(1)) investigated the cause of David’s death, and conclusively
  determined it was not suicide, but: “NATURAL.” See ECF No. [497-19], at 1. Yet, Wright
  confirms he intends to testify that David committed suicide.
          Wright is a lay witness and incompetent to testify about the cause of David’s death. See
  Wingster v. Head, 318 F. App’x 809, 814-15 (11th Cir. 2009) (cause of death determinations are
  “beyond the scope of a layperson’s knowledge” and “present[] a technical and scientific issue that
  requires the specialized knowledge of an expert medical witness”); Fed. R. Evid. 701(c).
          Further, this testimony is irrelevant because the circumstances of David’s death are not at
  issue in this case. See Fed. R. Evid. 401(b). And any relevance it does have (it has none) would be
  substantially outweighed by the prejudice that will occur if it is admitted.




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   The Autopsy Report itself is inconclusive as it indicates cocaine was found in Dave’s urine screen but not his blood
  screen. Id. at 5-6.



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           In sum, Wright should be precluded from offering his personal opinion that “Dave intended
  to end his own life.” ECF No. [523], at 14.5
           D.       MIL # 7: Exclude testimony or references to Dr. Wright’s childhood trauma.
           Wright seeks to introduce evidence of physical and sexual trauma he allegedly suffered as
  a child “to explain his conduct, both before and during this litigation.” ECF No. [523], at 17.
  Wright is clearly attempting to direct the jury away from the facts and improperly arouse empathy
  for himself.
           As this Court is aware, Wright has hired an expert to opine that his mental health—
  specifically his never-before-diagnosed “severe” autism, Ex. 1 (Klin Dep.), at 167:4-169:7; 181:6-
  10—is relevant to the jury’s assessment of his credibility. Plaintiffs have moved to strike this
  testimony. See ECF No. [509], at 1. However, it is notable that Dr. Klin stated he is “absolutely
  not” opining that Wright’s alleged childhood trauma “was the cause or a contributing cause to his
  autism.” ECF No. [497-22], at 245:21-246:5. Because Wright’s alleged childhood trauma had no
  bearing on his ASD diagnosis, it follows that testimony related to Wright’s childhood trauma is
  completely irrelevant to Wright’s conduct and ASD. See id.
           Wright’s alternative reason for introducing evidence of his alleged abuse is to help explain
  “his disappearance as Satoshi Nakamoto in 2010, which was brought on by Wright’s discovery
  that his creation—Bitcoin—had been used to facilitate abuse similar to what he had suffered as a
  child.” ECF No. [523], at 17. This highly specious, self-serving testimony has no bearing on
  whether he and David formed a joint business relationship.6 In sum, evidence of Wright’s alleged
  childhood trauma is an irrelevant and improper attempt to garner empathy and should be excluded.
II.        WRIGHT SHOULD BE PRECLUDED FROM CONTRADICTING JUDICIALLY
           ADMITTED DOCUMENTS
           If a document says it is from Craig Wright, and Wright says in his answer the document
  speaks for itself, that is an admission the document is from Craig Wright. Graham Eng'g Corp. v.


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    Of course, if Wright is allowed to testify that David committed suicide, Ira should be allowed to testify to the
  possibility that Wright had David murdered to steal his bitcoin fortune. There is evidence in the record that supports
  this theory. For example, the bullet hole in David’s mattress and the bullet casing found in his home (ECF No. [488-
  14], at 334–35), Wright’s sudden wealth after David died (ECF No. [511-9], at 35:15–41:6), Craig’s affiliation with
  Gareth Williams, who was a cryptographer and “former GCHQ MI6 operative killed by Russian agents,” (ECF No.
  [534-4], at 146:21-147-9; ECF No. [156], at 2; see also Tom Warren, Jason Leopold, et al., The Secrets of The Spy
  in the Bag, Buzzfeed News (June 20, 2017), https://www.buzzfeed.com/tomwarren/secrets-of-the-spy-in-the-bag),
  and Wright’s connection to international arms dealer, Paul Calder Le Roux (ECF No. [156], at 3).
  6
    Notably, Judge Reinhart already found this testimony “defies common sense and real-life experience.” ECF No.
  [277].


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  Adair, 2018 WL 1907063, at *2 (M.D. Pa. Apr. 23, 2018) (“the response that a document speaks
  for itself is generally deemed an admission that the contents of a document are what they are
  purported to be”); Kurz-Kasch, Inc. v. Holtzberg, 2006 WL 561918, at *3 (D.N.J. Mar. 7, 2006)
  (“Defendants admitted to execution of the promissory note in stating that the promissory note
  speaks for itself”).7 Yet, Wright asks this Court to hold otherwise, and allow him to deny the
  authenticity of documents at trial that he admitted at the outset were authentic.
           Defendant asserts that his “speaks for itself” answers are “ambiguous” and that ambiguous
  answers cannot be judicial admissions. But the only proper responses in an answer are admissions,
  denials, and statements that the pleader lacks sufficient knowledge or information to form a
  belief—any other response is improper and evasive, and may be deemed an admission. See Lipton
  Indus., Inc. v. Ralston Purina Co., 670 F.2d 1024, 1030 (C.C.P.A. 1982) (“An answer which
  attempts to evade the pleading requirements of Rule 8 by the tactic of an equivocal admission or
  denial is an admission”); see also Fed. R. Civ. P. 8(b)(6) (“An allegation—other than one relating
  to the amount of damages—is admitted if a responsive pleading is required and the allegation is
  not denied”).8
           Most cases cited by Wright on ambiguity involve less formal oral and written statements
  of counsel that were arguably inadvertent or inartful.9 His primary case, Service Source, Inc. v.
  Office Depot, Inc., 259 F. App’x 768 (6th Cir. 2008), does not say that a “speaks for itself” response
  cannot constitute an “express concession of fact” or a “deliberate voluntary waiver,” as Wright
  asserts. There, the defendant stated in its answer that an alleged written contract “speaks for itself.”
  In a later filing that “superseded the pleadings of the parties,” the defendant argued that the person


  7
    See also Carnahan v. Alpha Epsilon Pi Fraternity, Inc., 2018 WL 5825310, at *3 (W.D. Wash. Nov. 7, 2018)
  (response that “the letter speaks for itself” deemed an admission);; Paper, Allied-Indus., Chem. & Energy Workers
  Int'l Union v. S.D. Warren Co., 382 F. Supp. 2d 130, 138 n.7 (D. Me. 2005) (answer that the award speaks for itself
  construed “as an admission that Attachment B was an accurate copy of the arbitration award”).
  8
   See also Kule-Rubin v. Bahari Grp. Ltd., 2012 WL 691324, at *3 (S.D.N.Y. Mar. 5, 2012) (“an answer that neither
  admits nor denies allegations is deemed to admit the truth of those allegations”); United States v. $67,775.00 in U.S.
  Currency, 278 F.R.D. 345, 347 (D. Md. 2012) (responses that “failed to specifically deny the allegations” of the
  complaint deemed admitted).
  9
    See MacDonald v. Gen. Motors Corp., 110 F.3d 337, 340 (6th Cir. 1997) (statements of counsel using words such
  as “probably” and “suggesting,” thus “indicating that such remarks were guarded and qualified”); United States v.
  Belculfine, 527 F.2d 941, 944 (1st Cir. 1975) (“somewhat casual statement” in a footnote to a brief and trial testimony
  about what a witness “believed” or “thought”); Robinson v. McNeil Consumer Healthcare, 671 F. Supp. 2d 975, 981
  (N.D. Ill. 2009) (“counsel's statements of his conception of the legal theory of a case”). Wright also cites Glick v.
  White Motor Co., 458 F.2d 1287, 1291 (3d Cir. 1972), which held that a party did judicially admit the authenticity of
  trial exhibits by failing to object.


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  who signed the document was not authorized to do so. Id. at 774. Stating that “the district court
  did not err in finding that [the defendant] had not admitted that Anderson had authority,” the Sixth
  Circuit affirmed a defense verdict. Id. at 773. Notably, the defendant in that case did not claim that
  the subject document was not, in fact, signed by Anderson, or that it was a hacked document placed
  in its computer files.
           No person would say a document “speaks for itself” if they truly believed the document
  had been fabricated from whole cloth by a malicious third party to frame them. Wright
  unambiguously admitted to the authenticity of the documents, and is bound by that admission.
           It is true that the Court has discretion to allow Wright to amend his answer to delete his
  admissions, but this requires “exceptional circumstances,” a showing “that the admitted fact is
  clearly untrue and the party was laboring under a mistake when he made the admission.” Aligned
  Bayshore Holdings, LLC v. Westchester Surplus Lines Ins. Co., 2020 WL 564037, at *2 (S.D. Fla.
  Feb. 5, 2020); Castellanos v. Portfolio Recovery Assocs., 297 F. Supp. 3d 1301, 1311 (S.D. Fla.
  2017). Here, Wright has not provided any grounds for the exercise of the Court’s discretion. The
  true explanation for Wright’s change of heart about these documents is obvious—Wright is a
  chronic liar,10 and as the case progressed, he realized the documents are detrimental to his defense
  and now wants to deny their authenticity.
           Leave to amend, if Wright were to formally move for it, should be denied in light of
  Wright’s repeated perjury and bad faith. See Local 472 v. Georgia Power Co., 684 F.2d 721, 724
  (11th Cir. 1982) (leave to amend may be denied for “undue delay in filing, bad faith or dilatory
  motives”); United States v. Vehicle 2007 Mack 600 Dump Truck, 680 F. Supp. 2d 816, 829 (E.D.
  Mich. 2010) (deeming admitted evasive and equivocal answers and declining to grant leave to
  amend because the “request is made in bad faith”). Moreover, the deadline for amendments to
  pleadings was almost two years ago, ECF No. [21], at 2 (deadline of July 10, 2018), and granting
  leave now could require additional discovery.
           Finally, Plaintiffs were in no way obliged to move to strike Wright’s Answer, particularly
  since he confirmed the authenticity of some of these documents at his 2019 deposition. Only


  10
    Judge Reinhart found that Wright had “intentionally submitted fraudulent documents to the Court, obstructed a
  judicial proceeding, and gave perjurious testimony.” ECF No. [277], at 28. This Court “agree[d] with [Judge
  Reinhart’s] credibility findings relating to Defendant.” ECF No. [373], at 15. This Court has also found that “the
  record is replete with instances in which the Defendant has proffered conflicting sworn testimony before this Court.”
  ECF No. [265], at 10.


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   recently, at his March 2020 deposition, did he change his testimony. The burden was on Wright to
   request leave to amend, and to do so before plaintiffs moved to have the responses deemed
   admitted. See Vehicle 2007, 680 F. Supp. 2d at 829 (leave denied where not requested until “two
   months after the Government filed the motion to have the allegations of the Amended Complaint
   deemed admitted”); Aligned Bayshore Holdings, 2020 WL 564037, at *3 (leave denied where not
   sought “until after the issue was raised in the summary judgment briefing”); Castellanos, 297 F.
   Supp. 3d at 1311–12 (granting summary judgment because “Defendant offers no reason
   whatsoever, much less show exceptional circumstances, warranting relief from Defendant's
   judicial admission”). Plaintiffs’ motion in limine on judicial admissions should be granted.
III.      WRIGHT SHOULD BE PRECLUDED FROM TESTIFYING THAT HE WAS
          HACKED
          Plaintiffs’ Motion requested two alternative forms of relief vis-à-vis Wright’s
   unsubstantiated claims that his documents have been “hacked.” First, since the claims are
   completely unsupported by any independent evidence, Plaintiffs asked that Wright be precluded
   from making that claim at trial. Second, if the Court declines to bar Wright from claiming this
   “hack,” Plaintiffs requested that to prevent unfair surprise, Wright at least be required to identify
   all so-called “hacked” documents 30 days before trial. In his opposition brief, Wright does not
   specify any reason why the Court should not grant this alternative relief. Basic fairness demands
   no less. Wright makes two arguments in response to the primary relief sought by Plaintiffs. First,
   he criticizes Plaintiff for not identifying any cases on this precise issue. Second, he claims he is
   not making a “mockery of the judicial system” since he has previously made this same
   unsubstantiated claim of hacking.
          As to the first charge, Wright is correct. There does not appear to be a case with this specific
   cornucopia of deceit. For example, the Court has already found that “there is a strong, and
   unrebutted, circumstantial inference that Dr. Wright willfully created the fraudulent documents.”
   ECF No. [277], at 21. Worse, Wright has repeatedly validated and authenticated documents, only
   later to claim they are forgeries. Wright has claimed “document speaks for” themselves to later
   claim they are hacked (see Section b), he testified that he recognized emails with Ira and referred
   to an email as “mine” only to later claim he never sent the email (see ECF No. [510], at 11-12),
   and he testified a signature was his and then submitted an expert to opine that signature was a
   forgery (see ECF No. [509], at 22-23).



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              And while courts have dealt with litigants who refuse to tell the truth or otherwise forge
   evidence through sanctions, see ECF No. [512], the relief requested here is much more pointed.
   Specifically, Wright should not be allowed to wave off all adverse evidence with a generic and
   unsubstantiated claim of hacking. Why does Wright, a computer security expert11 with an
   impressive number of security related certifications,12 have no evidence?
              That leads to Wright’s second “defense.” He cites himself, and his self-proclaimed
   litigation “liaison” (Ex. 4 (First J. Nguyen Dep.), at 63:7-15) for the proposition that he has been
   making this same “hacking” claim for years. But Mr. Nguyen admitted he’s seen no evidence of
   the hacking beyond the say-so of Dr. and Mrs. Wright. See Ex. 5 (Second J. Nguyen Dep.), at
   251:17-252:2. To the extent Wright has been making this hacking claim for years, it is because he
   has been trying to explain away inconvenient documents for years. Indeed, the pattern is the same.
   When facing a difficult situation, Wright manipulates and forges documents that support his
   position, and then, when caught accuses others of doing the same to him. See, e.g., Ex. 6 (Watts
   Dep.), at 224:21-225:13. He has done this in his various legal proceedings in Australia, and it has
   led to a Court finding of deceit and his own lawyers firing him because he was using them as a
   conduit to transmit forged evidence to the Court. See, e.g., Ex. 7 (Wright v. Ryan & Anor [2005]
   NSWCA 368), ¶¶ 10-13 (claiming own emails were fabricated); ECF No. [510], at 14 (terminated
   by attorneys based on “serious questions about the integrity of documents” he provided).
              Relatedly, to “prove” a hacker exists, Wright cites his own handwriting expert’s opinion13
   and claims one would not forge their own signature and keep the document. But Wright needed
   that document for the ATO, to whom he submitted it, and relied on it extensively for his defense
   there. See ECF No. [509], at 23 n.10; see also ECF No. [525], at 8-9. This argument also ignores
   that Wright swore he signed it at deposition. See ECF No. [509], at 22-23.
              In sum, Defendant must not be allowed to use an unsubstantiated “hacking” claim as an
   excuse to disavow the documents he produced in this case. He has had ample time to come forward
   with any proof of this claim but has decided not to. He has hired multiple computer experts yet

   11
        Ex. 2, About Craig (last visited June 1, 2020), available at https://craigwright.net/about/.
   12
      Ex. 3, Professional Certifications (last visited June 1, 2020), available at
   https://craigwright.net/about/#professional-certifications.
   13
      Unfortunately, the defense misrepresents the expert’s opinion. Norwitch (whose opinion should be excluded) did
   not opine the document bore a “forged version of defendant’s signature.” As clarified at deposition, he does not
   know whether Wright signed the Deed of Loan, the represented known samples, or neither. He simply opined that
   the same person did not sign both.


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   asked none of them to investigate his hacking claim. The reason is simple – there is no evidence
   that his devices were hacked because they weren’t. At a bare minimum, Wright should be ordered
   to disclose, 30 days before trial, any documents he intends to claim were the result of “hacking.”
IV.       THE COURT SHOULD PRECLUDE THE USE OF THE LATE DISCLOSED
          DOCUMENTS
          The Court should exclude Wright’s late disclosed documents from trial. However, if the
   Court finds that remedy too harsh, Wright should be compelled to sit for an additional 4-hour
   deposition to allow Plaintiffs to adequately investigate these documents and their authenticity.
          A.      Wright does not address—much less deny—the significant red flags calling
                  into question the authenticity of the late produced documents
          Plaintiffs’ Motion sets out several reasons to believe these suddenly discovered, late-
   produced documents are, in fact, yet more forgeries from Wright, fabricated by him to help his
   case at trial. See ECF No. [510], at 18–19. While delaying production of authentic evidence alone
   would have been prejudicial to Plaintiffs, the late production of new forgeries poses an even greater
   threat because it has significantly handcuffed Plaintiffs’ ability to expose the frauds. Id.
          Wright’s response “utterly fail[ed] to address” this argument, thereby “implicitly
   conceding the point.” Anderson v. Branch Banking & Tr. Co., 119 F. Supp. 3d 1328, 1345 (S.D.
   Fla. 2015) (Bloom, J.) (collecting cases); see also Nat'l Union Fire Ins. Co. of Puttsburgh v. Tyco
   Integrated Sec., LLC, No. 13-CIV-80371, 2015 WL 11251736, at *3 (S.D. Fla. July 29, 2015)
   (Bloom, J.) (“Plaintiff has elected not to address Defendant’s argument with respect to Rule 37
   and has thereby conceded the point.”) (granting motion to exclude testimony).
          The Court should treat Wright’s silence as an admission that much of this evidence was, in
   fact, fabricated by Wright, or his wife, which alone is ample reason to exclude it.
          B.      Wright sat on the late produced documents for nearly five months
          In his response, Wright argues that the “existence of those files was no secret.” ECF No.
   [523], at 13. What Wright fails to acknowledge, however, is that he apparently obtained these files
   no later than December 2019 or January 2020. See Ex. 6 (Watts Dep.), at 142:18–25. That means
   Wright elected not to produce them until much later, after he was deposed, even as he was able to
   promptly produce other documents. See ECF No. [373], at 10 n.5.
          Wright blames Plaintiffs for “never follow[ing] up” and failing to “demand an immediate
   production” after the documents were alluded to in Wright’s March deposition, but he never offers
   any excuse for not producing them sooner or why Plaintiff would need to make demands above


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   those they issued under Rule 34 on May 30, 2018. See ECF No. [36-1], at 7 (Request 7-8).
          C.      The multimedia files Plaintiffs produced on the last day of discovery were
                  never requested by Wright
          Finally, Wright attempts to excuse his own conduct by accusing Plaintiffs of being equally
   guilty for producing materials on the last day of discovery. But context matters. The materials
   produced by Plaintiffs were part of a group of multimedia files that had been identified to Wright
   on November 26, 2019. However, per the parties’ agreements, none of those files were required to
   be produced absent a request for specific files. Wright fails to mention that, while he eventually
   requested certain files, he never requested the ones Plaintiff produced at the close of discovery.
   See Ex. 8 (April 1, 2020 email between Zaharah Markoe and Kyle Roche). Plaintiffs voluntarily
   produced these files in an abundance of caution so Wright would not claim surprise if Plaintiffs
   used them at trial (not that this claim would be well-founded). There is simply no equivalence
   between how Wright and Plaintiffs have fulfilled their discovery obligations. This is true generally
   and as it relates to these late produced documents.
                                            CONCLUSION
          For the foregoing reasons, Plaintiffs respectfully request the Court grant Plaintiffs’ motions
   in limine.


                                                     Respectfully submitted,

    Dated: June 2, 2020                              /s/ Velvel Freedman
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 2, 2020, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF.

                                                 /s/ Velvel Freedman
                                                 VELVEL (DEVIN) FREEDMAN




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